Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                               CASE NO. 21-14057-CIV-CANNON

  KATHLEEN SHORT
  and HAROLD WHITE,

         Plaintiffs,
  v.

  UBER TECHNOLOGIES, INC.,

         Defendant.
  ________________________________________/

                ORDER GRANTING DEFENDANT’S MOTION TO COMPEL

         THIS CAUSE comes before the Court upon Defendant’s Motion to Dismiss or Stay First

  Amended Complaint, Strike Class Allegations and Compel Individual Arbitration (“Motion to

  Compel”) [ECF No. 31], filed on June 1, 2021. The Court has reviewed the Motion to Compel,

  Plaintiffs’ Response in Opposition [ECF No. 34], Defendant’s Reply [ECF No. 37], and the full

  record. Following that review, Defendant’s Motion to Compel is GRANTED.

                                          BACKGROUND 1

         Plaintiffs, Kathleen Short (“Short”) and Harold White (“White”), bring this Florida-based

  collective action and class action against Defendant, Uber Technologies, Inc. (“Uber”), alleging

  that Uber has a policy of “willfully misclassifying its drivers as independent contractors, when, in

  fact, each such driver is and/or was an employee of Uber in Florida” [ECF No. 27 ¶ 2]. Short and

  White seek to represent a class of current and former Uber drivers, defined in the Amended

  Complaint as all “drivers who, at any time during the period from February 3, 2018, to the present


  1
     The following facts are drawn from Plaintiffs’ Amended Complaint [ECF No. 27] and the
  Declaration of Brad Rosenthal, Director of Strategic Operational Initiatives for Uber Technologies,
  Inc. [ECF No. 31-1].
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 2 of 7

                                                                    CASE NO. 21-14057-CIV-CANNON


  (the ‘Collective Period’), have worked, or currently work, as a driver for Uber in Florida”

  [ECF No. 27 ¶ 29].

            Uber owns and operates a ridesharing service that conducts regular business in Florida

  [ECF No. 24 ¶ 6]. To provide transportation services to riders, a driver must download Uber’s

  Driver App and create an account [ECF No. 31-1 ¶¶ 6–7]. Drivers cannot access the app to

  generate requests from potential riders unless the driver reviews and accepts Uber’s terms and

  conditions agreement (“Agreement”) [ECF No. 31-1 ¶¶ 10–13]. The agreement contains an

  arbitration provision, which states in pertinent part as follows:

            Except as it otherwise provides, this Arbitration Provision also applies, without
            limitation, to disputes between you and us, or between you and any other entity or
            individual, arising out of or related to your application for and use of an account to
            use our Platform and Driver App as a driver . . . the nature of your relationship with
            us (including, but not limited to, any claim that you are our employee). . .
            compensation, minimum wage, expense reimbursement, overtime . . . and claims
            arising under the . . . Fair Labor Standards Act . . . federal, state or local statutes or
            regulations addressing the same or similar subject matters, and all other federal,
            state, or local statutory, common law and legal claims . . . arising out of or relating
            to your relationship with us or the termination of that relationship.

  [ECF No. 31-1, p. 74].

            Additionally, the arbitration provision precludes drivers from litigating claims in a class

  action:

            Both Uber and you agree to bring any dispute in arbitration on an individual basis
            only, and not on a class or collective basis on behalf of others. There will be no
            right or authority for any dispute to be brought, heard or arbitrated as a class or
            collective action, or for you to participate as a member in any such class or
            collective proceeding.

  [ECF No. 31-1, p. 77].

            Short alleges that she was a driver for Uber beginning in March 2018 until May 2020 in

  Sebastian, Florida [ECF No. 27 ¶ 4]. According to Uber’s business records, Short accepted Uber’s

  Agreement three times—first on March 16, 2017, a second time on November 26, 2019, and finally

                                                        2
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 3 of 7

                                                                CASE NO. 21-14057-CIV-CANNON


  on January 10, 2020 [ECF No. 31-1 ¶¶ 16–17]. White alleges that he was a driver for Uber

  beginning in December 2016 until May 2020 in Tallahassee, Florida [ECF No. 27 ¶ 5]. According

  to Uber’s business records, White first accepted the agreement on December 18, 2016, again on

  November 27, 2019, and finally on January 9, 2020 [ECF No 31-1 ¶¶ 16–17].

                                     PROCEDURAL HISTORY

         On February 3, 2021, Short filed a two-count Complaint on behalf of herself and other

  drivers for Uber, based on Uber’s alleged violations of the Fair Labor Standards Act (“FLSA”),

  29 U.S.C. § 201 et seq. and Florida’s Minimum Wage Act, Fla. Stat. § 448.100, et seq.

  [ECF No. 1]. On March 23, 2021, the parties filed a joint motion to stay proceedings pending

  Uber’s forthcoming motion to compel arbitration of Plaintiff claims [ECF No. 17]. The Court

  granted the parties’ joint motion to stay proceedings on April 16, 2021 [ECF No. 25]. Short then

  amended the Complaint on April 26, 2021, naming White as an additional plaintiff [ECF No. 27].

  Uber subsequently filed the instant Motion to Compel on June 22, 2021 [ECF No. 31]. The Motion

  is ripe for adjudication [ECF Nos. 34, 37].

                                        LEGAL STANDARD

         The Federal Arbitration Act (“FAA”) governs the validity of an arbitration agreement.

  Walthour v. Chipio Windshield Repair, LLC, 745 F.3d 1326, 1329 (11th Cir. 2014) (citation

  omitted). The FAA embodies a “liberal federal policy favoring arbitration agreements.” Moses

  H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). The FAA provides that a

  written agreement to arbitrate a controversy “shall be valid, irrevocable, and enforceable, save

  upon such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

  When one party has failed, neglected, or refused to comply with an arbitration agreement, the FAA

  requires the federal district court to compel arbitration. See id. § 4; see also Dean Witter Reynolds,



                                                    3
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 4 of 7

                                                               CASE NO. 21-14057-CIV-CANNON


  Inc. v. Byrd, 470 U.S. 213, 218 (1985) (observing that the FAA “mandates that district courts shall

  direct the parties to proceed to arbitration on issues as to which an arbitration agreement has been

  signed”) (emphasis in original).

         The FAA extends to all contracts “evidencing a transaction involving commerce.” 9 U.S.C.

  § 2. This Section implements Congress’s intent “to exercise [its] commerce power to the full.”

  Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 112 (2001) (quoting Allied-Bruce, Terminix Cos.

  v. Dobson, 513 U.S. 265, 270–71 (1995)). Under Section 1 of the FAA, there is an exemption

  from the Act for “contracts of employment of seamen, railroad employees, or any other class of

  workers engaged in foreign or interstate commerce.” 9 U.S.C. § 1.

         The Supreme Court has held that Section 1’s residual clause— “any other class of workers

  engaged in foreign or interstate commerce”—applies only to “contracts of employment of

  transportation workers.” See Circuit City, 532 U.S. at 118–19. “[A] court should decide for itself

  whether § 1’s ‘contracts of employment’ exclusion applies before ordering arbitration.” New

  Prime Inc. v. Oliveira, 139 S. Ct. 532, 537 (2019). And “[a] plaintiff challenging the enforcement

  of an arbitration agreement bears the burden to establish, by substantial evidence, any defense to

  the enforcement of the agreement.” Inetianbor v. CashCall, Inc., 923 F. Supp. 2d 1358, 1362

  (S.D. Fla. 2013) (citing Bess v. Check Express, 294 F.3d 1298, 1306–07 (11th Cir. 2002)).

                                            DISCUSSION

         There is no dispute that Uber’s agreement requires a driver to arbitrate all FLSA claims

  [ECF No. 31-1, pp. 24–31; 51-59; 73–80]. Nor is there any dispute that Plaintiffs signed the

  agreement [ECF No. 25, p. 1 (“Plaintiff has not denied that she entered into a written agreement

  to arbitrate, on an individual basis, the claims she has brought in this litigation.”)]. The question

  of whether arbitration must be enforced here thus turns on the applicability of Section 1’ residual



                                                   4
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 5 of 7

                                                               CASE NO. 21-14057-CIV-CANNON


  clause. Plaintiffs argue that they are “unquestionably part of a class of transportation workers who

  are engaged in interstate commerce” and thus are exempt from the FAA’s arbitration provisions

  [ECF No. 34, p. 13–18]; see 9 U.S.C. § 1. Uber responds that Plaintiffs should be compelled to

  arbitrate because Plaintiffs (or the class of Uber drivers they seek to represent) are not “engaged”

  in “interstate commerce” within the meaning of that exemption [ECF No. 31, pp. 12, 14–20].

         In determining whether Section 1’s exemption for “transportation workers” applies, courts

  have considered “not whether the individual worker actually engaged in interstate commerce, but

  whether the class of workers to which the complaining worker belonged engaged in interstate

  commerce.” Wallace v. Grubhub Holdings, Inc., 970 F.3d 798, 800 (7th Cir. 2020) (quoting

  Bacashihua v. U.S. Postal Serv., 859 F.2d 402, 405 (6th Cir. 1988)). The Eleventh Circuit has not

  specifically weighed in on the question of whether rideshare drivers like the Plaintiffs in this case

  qualify for the Section 1 exemption, but the Eleventh Circuit has been firm that Section 1 applies

  only to transportation workers who “actually engage in the transportation of goods in interstate

  commerce” and are “employed in the transportation industry.” Hill v. Rent-A-Center, Inc., 398

  F.3d 1286, 1289–90 (11th Cir. 2005) (emphasis added); see also Hamrick v. Partsfleet, LLC, 1

  F.4th 1337, 1351 (11th Cir. 2021).

         The Court has considered the authority on the applicability of the Section 1 exemption to

  rideshare drivers like the Plaintiffs here and finds persuasive the reasoning of the courts that have

  determined that Section 1 does not apply such that Plaintiffs may avoid arbitration. 2 “[T]he



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   See, e.g., Capriole v. Uber Techs., Inc., No. 20-16030, 2021 WL 3282092 (9th Cir. Aug. 2, 2021)
  (holding that Uber drivers as a class of workers do not fall within the “interstate commerce”
  exemption from the FAA); Osvatics v. Lyft, Inc., No. 20-CV-1426 (KBJ), 2021 WL 1601114, at
  *8 (D.D.C. Apr. 22, 2021) (collecting cases); Rogers, 452 F. Supp. 3d at 916; Grice v. Uber Techs.,
  Inc., No. 18-cv-2995, 2020 WL 497487, at *9 (C.D. Cal. Jan. 7, 2020); Hinson v. Lyft, Inc., No.
  1:20-CV-2209-MHC, 2021 WL 838411, at *7 (N.D. Ga. Feb. 26, 2021). But see Haider v. Lyft,
  Inc., No. 20-cv-2997, 2021 WL 1226442, at *4 (S.D.N.Y. Mar. 31, 2021); Islam v. Lyft, Inc., No.
                                                   5
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 6 of 7

                                                                CASE NO. 21-14057-CIV-CANNON


  question is ‘not whether the individual worker actually engaged in interstate commerce, but

  whether the class of workers to which the complaining worker belonged engaged in interstate

  commerce.’” Wallace, 970 F.3d at 800 (quoting Bacashihua, 859 F.2d at 405) (emphasis in

  original); see also Rogers, 452 F. Supp. 3d at 915 (“The plaintiffs’ personal exploits are relevant

  only to the extent they indicate the activities performed by the overall class.”).

         Moreover, the undisputed record does not support the contention that Uber drivers are, as

  a class, engaged in interstate commerce. As reflected in Uber’s interrogatory responses from

  litigation in Singh v. Uber Techs. Inc., 939 F.3d 210 (3d Cir. 2019), attached as an exhibit to

  Plaintiff’s Response in Opposition, (1) 97.5% of all trips fulfilled by Uber nationwide between

  2015 and 2020 were intrastate; (2) only 2.5% of all trips began and ended in a different state; (3) in

  Florida, only 0.02% of rides were interstate; and (4) the average distance for those Florida trips

  was 32.2 miles [ECF No. 31-2 ¶¶ 3–4; ECF No. 34, pp. 9–13]. Additionally, as Uber notes, “[o]nly

  12.8% of drivers in 2020 made any interstate trips, and for those drivers, those interstate trips

  amount to less than 2% of their trips” (emphasis in original) [ECF No. 37, p. 5].

         For these reasons, the Court determines that Plaintiffs are not covered by Section 1’s

  exemption for transportation workers and are subject to the agreement to arbitrate any and all

  claims on an individual basis, including the FLSA claims in this case. Because the parties entered

  into a valid agreement to arbitrate and the dispute falls within the scope of the arbitration

  agreement, the Court GRANTS Uber’s motion to compel arbitration.




  20-CV-3004 (RA), 2021 WL 871417, at *14 (S.D.N.Y. Mar. 9, 2021); Cunningham v. Lyft, Inc.,
  450 F. Supp. 3d 37, 47 (D. Mass. 2020); Sienkaniec v. Uber Techs., Inc., 401 F. Supp. 3d 870, 871
  (D. Minn. 2019).
                                                    6
Case 2:21-cv-14057-AMC Document 39 Entered on FLSD Docket 09/14/2021 Page 7 of 7

                                                                  CASE NO. 21-14057-CIV-CANNON


                                             CONCLUSION

           For the foregoing reasons, it is hereby ORDERED AND ADJUDGED as follows:

        1. Defendant’s Motion to Compel [ECF No. 31] is GRANTED.

        2. Plaintiffs Kathleen Short and Harold White shall submit to arbitration on an individual

           basis regarding the claims they assert in this case.

        3. This action is STAYED and shall be ADMINISTRATIVELY CLOSED pending

           completion of arbitration pursuant to the terms of the Arbitration Agreement in this case.

        4. The parties shall notify the Court upon completion of arbitration, and either party shall

           have the right to move to reopen this case to resolve any remaining issues of contention.

           DONE AND ORDERED at Fort Pierce, Florida this 14th day of September 2021.



                                                             _________________________________
                                                             AILEEN M. CANNON
                                                             UNITED STATES DISTRICT JUDGE
  cc:      counsel of record




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